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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          www.tlsb.uscourts.gov

    In re:                                                        Case No.
                                                                  Chapter



                        Debtor        I

                             DECLARATION REGARDING PAYMENT ADVICES

    Debtor:

    _ _ Copies of all paymeµt advices, pay stubs or other evidence of payment received by the
        debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
        attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
        and all received and provide explanation that you didn't work the full 60 days.


    _ _ Copies of all payment advices are not attached because the debtor had no income from
        any employer during the 60 days prior to filing the bankruptcy petition.

    _ _ Copies of all payment advices are not attached because the debtor:
        _receives disability payments
        _is unemployed and does not receive unemployment compensation
        _receives Social Security payments
        _receives a pension
           does not work outside the home
        ~is self employed and does not receive payment advices

    _ _ None of the statements above apply, however, the debtor is unable to timely provide
        some or all copies of payment advices or other evidence of payment received
        Explain:
                       ----------------------------
    Joint Debtor (if applicable):

    _ _ Copies of payment advices, pay stubs or other evidence of payment received by the joint
        debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
        attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
        and all received and provide explanation that you didn't work the full 60 days.


    _ _ Copies of payment advices are not attached because the joint debtor had no income from
        any employer during the 60 days prior to filing the bankruptcy petition.




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     _ _ Copies of payment advices are not attached because the joint debtor:
         __receives disability payments
         __ is unemployed and does not receive unemployment compensation
         __ receives Social Security payments
                                                                                                  I
         __ receives a pension                                                                    tI
            does not work outside the home                                                        t
         Vis self employed and does not receive payment advices

     _ _ None of the statements above apply, however, the joint debtor is unable to timely
                                                                                                  i
         provide some or all copies of payment advices or other evidence of payment received
         Explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                  II
     NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices,



     co~==z
     it is your responsibility to redact (blackout) any social security numbers, names of minor
     children, dates of birth or financial account numbers before attaching for filing with the

                                  ~(A}(2).
        ~                         _/                            Date:   6-c ~?<.._
     SignW~;,? oc Dobto,
     Signature of Joint Debtor, if applicable
                                                                Date:       ,,
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